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                   AMENDED SPECIAL CONDITIONS OF RELEASE

                                                     RE: Cavileer, Jason
                                                     Doc. No. 2:10-CR-347-MCE
                                                     Date: March 14, 2014

1.    You shall report to and comply with the rules and regulations of the Pretrial Services
      Agency;

2.    You shall report in person to the Pretrial Services Agency on the first working day following
      your release from custody;

3.    You are released to the third-party custody of your mother, Carolyn Cavileer;

4.    You are to reside at a location approved by the pretrial services officer and not move or
      absent yourself from this residence for more than 24 hours without the prior approval of the
      pretrial services officer;

5.    Your travel is restricted to the Eastern District of California without the prior consent of the
      pretrial services officer;

6.    You shall not possess a firearm/ammunition, destructive device, or other dangerous weapon;
      additionally, you shall provide written proof of divestment of all firearms/ammunition
      currently under your control;

7.    You shall refrain from any use of alcohol or any use of a narcotic drug or other controlled
      substance without a prescription by a licensed medical practitioner; and you shall notify
      Pretrial Services immediately of any prescribed medication(s). However, medicinal
      marijuana, prescribed or not, may not be used;

8.    You shall submit to drug or alcohol testing as approved by the pretrial services officer;

9.    You shall seek and/or maintain employment and provide proof of same as requested by your
      pretrial services officer;

10.   You shall not associate or have any contact with the co-defendants unless in the presence of
      counsel or otherwise approved in advance by the pretrial services officer; and

11.   You shall report any contact with law enforcement to your pretrial services officer within
      24 hours.
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                                                     Doc. No. 2:10-CR-347-MCE
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